                           UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN


MENOMINEE INDIAN TRIBE OF WISCONSIN,
                        Plaintiff(s),

                           v.                             MOTION HEARING RE: U.S. Environmental
                                                         Protection Agency, U.S. Army Corps of Engineers
                                                           and Aquila Resources’ [6] and [19] Motions to
                                                                             Dismiss
                                                                        Case No. 18-C-108
U.S.ENVIRONMENTAL
PROTECTION AGENCY, et al.,
                                     Defendant(s),

AQUILA RESOURCES, INC.,

                                     Intervenor Defendant.




HONORABLE WILLIAM C. GRIESBACH presiding                                         Time Called: 1:31 p.m.
Proceeding Held: August 1, 2018                                               Time Concluded: 3:57 p.m.
Deputy Clerk: Cheryl                                                                    Tape: 080118

Appearances:

    Plaintiff(s):     Janette Brimmer, Lindzey A. Spice, Stephanie K. Tsosie,
                      Douglas Cox-Menominee Tribal Chair

    Defendant(s):     Daniel R. Dertke and Michael Carter for U.S. Environmental Protection Agency
                      Daniel P. Ettinger, Ashley G. Chrysler, and Ronald R. Ragatz for Aquila Resources, Inc.

Mr. Ettinger provides current case status to the Court and the status of the case that is before the ALJ for the
Michigan Department of Environmental Quality.

1:36 p.m. – Mr. Dertke presents argument in support of its motion. The court and Mr. Dertke discuss points of
argument and authority.
1:53 p.m. – United States to submit authority within 7 days.
2:09 p.m. – Mr. Ettinger presents argument in support of its motion.
2:25 p.m. – Ms. Brimmer presents argument in opposition of the motions. The court and Ms. Brimmer discuss
points of argument.
2:51 p.m. – Mr. Dertke responds and presents additional argument.
3:01 p.m. – The Court and Mr. Dertke discuss final agency action/decision.
3:10 p.m. – Mr. Ettinger responds and presents additional argument.
3:17 p.m. – Ms. Brimmer responds and presents additional argument.
3:20 p.m. – The court directs a supplemental brief be filed within 7 days. Response due 7 days thereafter.
The court takes the matter under advisement.
3:21 p.m. – Hearing concluded.
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